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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                                 AT LOUISVILLE


 UNITED STATES OF AMERICA                                                       PLAINTIFF


 v.                                                        CASE NO. 3:23-CR-00055-DJH


 JOHN ANTHONY SCHMIDT                                                        DEFENDANT


           MOTION TO DECLARE CASE COMPLEX AND CONVERT
         JULY 10, 2023 JURY TRIAL TO IN-PERSON STATUS HEARING

                             *** *** *** *** *** *** *** ***

         Comes the Defendant, JOHN ANTHONY SCHMIDT (hereinafter “Schmidt”), by

 counsel, pursuant to 18 U.S.C. §3161(h)(8)(A) and (B)(ii) and the Fifth and Sixth

 Amendments to the United States Constitution, and respectfully requests the Court to declare

 this case complex for purposes of the Speedy Trial Act. In support hereof, Schmidt states

 as follows:

         1.     Schmidt is named in a Three Count Indictment alleging wire fraud, and two

 counts of bank fraud, counts one, two and three, respectively. The Indictment alleges

 conduct beginning no later than September 2014, and continuing until in or about January

 2019.

         2.     The discovery in this case is voluminous and consists of detailed financial

 records and transactions.

         3.     Schmidt needs substantially more time to effectively prepare his defense to

 the allegations and evidence against him. The case is so complex due to nature of the

 prosecution, including specifically the time between the beginning of the allegations in
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 September 2014 to the conclusion in January 2019, and the voluminous financial records and

 transactions that it is unreasonable to expect adequate preparation for pretrial proceedings

 or for the trial itself within the time limit established in 18 U.S.C. §3161 et seq.

            4.     This motion is not for the purpose of unfair delay or surprise and neither

 Schmidt, the government, nor the public will be prejudiced by the Court granting the motion.

 Schmidt agrees that the time should be excluded pursuant to 18 U.S.C. §3161(7)(A) and

 (B)(ii).

            WHEREFORE, Schmidt respectfully requests this Court to declare this case

 complex and enter the attached Order converting the July 10, 2023 jury trial to an in-person

 status hearing.

                                                Respectfully Submitted,


                                                /s/ Patrick J. Renn
                                                Counsel for Defendant
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 31, 2023 I electronically filed with the Clerk of the
 Court by using the CM/ECF system, which will serve notice of electronic filing to all
 attorneys of record.

                                                /s/ Patrick J. Renn
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